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                                    UNITED STATES DISTRICT Co
                                           SOUTHERN DISTRICT OF CALIFORNI
             UNITED STATES OF AMERICA                                JUDGMENT IN A
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Connnitted On or After November 1, 1987)
                               V.
                    TERRILL DIXON (I)
                                                                        Case Number:        3:98-CR-00273-WQH

                                                                     Blake Jackson Eaton
                                                                     Defendant's Attorney
REGISTRATION NO.                51507-198
•-
THE DEFENDANT:
C2;I admitted guilt to violation of allegation(s) No.      5
D    was found guilty in violation of allegation(s) No.   _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilty.

Accordin~ly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation

              5                     nv I, Committed a federal, state or local offense




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change fa the defendant's economic circumstances.

                                                                     January 11, 2021
                                                                     Date of Imposition of Sentence
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       AO 245D (CASO Rev. 01/19) Judgment in a Criminal Case for Revocations

      - DEFENDANT:-               TERRILL DIXON (1)                                                    Judgment - Page 2 of 2
        CASE NUMBER:              3:98-CR-00273-WQH

                                                         IMPRISONMENT
---+-he deferrdanhs-herebycommitted-unlie custody of tlie Unitei:! States Bureau of Prisons to be imprisoned for a term of:
     Twelve (12) months consecutive to any State sentence defendant may be serving




         •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
         D     The court makes the following recommendations to the Bureau of Prisons:




         •     The defendant is remanded to the custody of the United States Marshal.

         •     The defendant shall surrender to the United States Marshal for this district:
               •     at _ _ _ _ _ _ _ _ _ A.M.                       on
               •     as notified by the United States Marshal.
                                                                          ------------------
              The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        •     Prisons:
               •     on or before
              •      as notified by the United States Marshal.
              •      as notified by the Probation or Pretrial Services Office.

                                                              RETURN
        I have executed this judgment as follows:

              Defendant delivered on                                             to _ _ _ _ _ _ _ _ _ _ _ _ _ __

        at   ------------ ,                        with a certified copy of this judgment.



                                                                       UNITED STATES MARSHAL



                                            By                    DEPUTY UNITED STATES MARSHAL




                                                                                                    3:98-CR-00273-WQH
